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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

UNITED STATES OF AMERICA                      )
                                              )       No. 1:93cr460
                v.                            )
                                              )       Honorable Claude M. Hilton
JAMES KIRBY BURKS, JR.                        )

                 RESPONSE OF THE UNITED STATES TO DEFENDANT’S
                     MOTION FOR MODIFICATION OF SENTENCE



         The United States files this response to the defendant’s motion for modification of his

sentence pursuant to Title 18, United States Code, Section 3582(c)(2) and U.S.S.G. §

1B1.10. After reviewing the defendant’s motion and the underlying case file, the United States

would be willing to endorse a reduction in the defendant’s sentence to one of less than life

imprisonment, specifically 360 months, were such a reduction permissible under the law. Having

consulted with counsel for the defendant and having considered whether any lawful mechanism

exists to reduce the defendant’s sentence, however, the United States has determined that no

authority exists for the United States to support or for the Court to order a reduction in the

defendant’s sentence. Accordingly, the United States must oppose the defendant’s motion.

                                  Procedural Background


        On December 21, 1993, a grand jury sitting in the Eastern District of Virginia returned a

two-count indictment against defendant James K. Burks, Jr. Burks was charged with conspiracy

to possess with intent to distribute 50 grams or more of crack cocaine, and to distribute 50

grams




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orCase
   more 1:93-cr-00460-CMH
        of crack cocaine, in violation of 21 U.S.C.
                                 Document           § 846,08/03/17
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Criminal Enterprise (“CCE”) in violation of 21 U.S.C. § 848. 1

        Following a jury trial in the United States District Court in Alexandria, Virginia (Claude

M. Hilton, J.), on March 9, 1994, Burks was convicted on both counts against him. At the
sentencing hearing on June 3, 1994, the Court accepted the recommendations of the

probation office, which concluded that Burks’s guideline range was mandatory life in prison

because his offense level was 48. (See PSI, Worksheet D, ¶6). The offense level was

calculated upon th

e base offense level of 42 for more than 15 kilograms of crack cocaine, enhanced by two

levels for the use of firearms, and four levels for his role in the offense. Accordingly, the

Court sentenced Burks to life in prison on Count One (the drug charge) and a concurrent

sentence of life imprisonment on Count Two (the CCE charge). Burks appealed.

        On appeal, the CCE charge was affirmed and, accordingly, the case was remanded for

dismissal of the conviction on the conspiracy charge only. United States v. Burks, 85 F.3d 617

(4th Cir. 1996) (Table). On April 14, 1997, Burks filed a § 2255 motion and a motion for

reduction of sentence pursuant to § 3582(c)(2) under U.S.S.C. Guideline Amendments 706 and

715. Dkt. #73. On August 28, 1997, the Court issued an order denying petitioner’s motion to

vacate, set aside or correct sentence, pursuant to § 2255. Dkt. #81. Bruks then filed for a

Certificate of Appealability to the Fourth Circuit Court of Appeals on September 5,1997 (Dkt. #82), which

was denied on March 24, 1998. Dkt. #86.

        On May 31, 2001, Burks filed in the Fourth Circuit Court of Appeals, pursuant toTitle 28
 U.S.C. § 2244, requesting permission to file a second or successive § 2255 petition pursuant to the
 Supreme Court’s ruling in Apprendi vs. New Jersey, 530 U.S. 466 (2007). On June 19, 2001, that


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            The PSI states: “Notes: In excess of over 50 kilograms of cocaine base.” (PSI,

Worksheet A, ¶1) (emphasis added).


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    motion
    Case was  denied. Dkt. #87. On Document
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    Court of Appeals pursuant to a § 2244 motion relying on the decision in Booker, requesting
    permission to file a second successive § 2255 motion, that motion was denied on December 19,
    2005. Dkt. #88.

               On February 2, 2009, Burks filed a second § 3582(c)(2) motion under Amendments 706
    and 715 (crack/cocaine ratio) (Dkt. #89), that motion was denied. Dkt. #95. On March 29, 2012,
    Burks filed a petition for a writ of mandamus. Dkt. #97. That petition was denied on the same
    date. Dkt. #97. On December 18, 2015, per the direction of the Fourth Circuit, the Court issued
    an order dismissing Count One of the indictment. Dkt. #100. On January 11, 2016, the Court
    amended judgment dismissing Count One (conspiracy count) and sentenced the defendant to life
    imprisonment and five years of supervised release on Count Two (CCE count). Dkt. 101.

               On June 8, 2016, Burks filed his third motion pursuant to § 3582(c)(2), this time relying
    on Amendment 782 of the Guidelines. Dkt. #105. On September 2, 2016, the Court appointed the
    Federal Public Defender to represent Burks. Dkt. #109. 2 On May 18, 2017, Burks filed a motion
    for an order to show cause. Dkt. 113. On June 19, 2017, the Court issued an order requiring the
    United States to file an answer to Burks’ third § 3582(c)(2) motion (Dkt.#105). Dkt. #115. The
    following is the Government’s response, per the Court’s Order of June 19, 2017, in opposition to
    Bruks’ motion based an Amendment 782.

                                               Factual ackground

               From 1990 to 1993, Burks purchased hundreds of kilograms of cocaine from

    Albert Martinez and later, Kevin Backstrom. After cooking the cocaine into crack,

    Burks sold it, primarily to Anthony Cotton and Todd Foster. In his crack cocaine

    enterprise, Burks led associates including Maurice Hall, Ronald Hall, Derrick Pollard,

    David Liverpool, Eugene Spriggs, Nathan King, Keith Parham, Gary Willingham, and

    Howard Wright. Martinez, Backstrom, Cotton, and Hall all testified against Burks at

    trial. 3



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  The Federal Public Defender filed no motion on behalf of Burks, which is their practice when they believe there is
  no legal basis for doing so.
3
  Martinez pled guilty to CCE charges in two separate districts. Cotton was sentenced to
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     About once a week fromDocument
Case 1:93-cr-00460-CMH      1990 to November 1991,
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                                                08/03/17   sold Burks  between
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two and four kilograms of powder cocaine for about $21,000 per kilogram. After

Martinez was arrested in November 1991, Burks obtained his cocaine from Backstrom.

From November 1991 to February 1992, Backstrom flew from Los Angeles to

Washington, D.C. about twice a week to deliver between five and seven kilograms of

cocaine each trip to Burks for about $17,500 a kilogram. After February 1992,

Backstrom had from five to seven kilograms of cocaine delivered to Burks about twice a

week and Burks regularly flew to Los Angeles to deliver payment to Backstrom.

         From 1990 to early 1993, Cotton and Foster purchased their cocaine from Burks. By

early 1992, Burks fronted them a kilogram of crack cocaine twice weekly for about $32,000

per kilogram. After April 1992, Cotton and Foster sold two kilograms of crack cocaine on

consignment for Burks two to three times a week for about $20,500 per kilogram. On

December 31, 1992, Cotton and Foster picked up on consignment, and then paid Burks for

five kilograms of crack cocaine.

                                                 Argument

A. Standard of Review

         Generally, a sentence is final. United States v. Peters, 843 F.3d 572, 574 (4th Cir.

2016), cert. granted, (U.S. March 15, 2017) (No. 16-8336). However, under 18 U.S.C.

§ 3582(c)(2), a defendant’s sentence may only be reduced to give the defendant “the benefit

of later enacted adjustments to the judgments reflected in the [U.S.S.G.’s] Guidelines.”

Dillon v. United States, 560 U.S. 817, 828 (2010). The Supreme Court has clarified that




life in prison. Backstrom was sentenced to terms of 14 years on federal charges and ten years on state charges. After
pleading not guilty, Foster was convicted of conspiring with Cotton, Backstrom, and Burks to distribute crack
cocaine and was sentenced to life in prison. United States v. Foster, 46 F.3d 1127, 1995 WL 32613 (4th Cir. . 30.
1995) (unpublished).


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  3582(c)(2) permits “only a Document
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plenary resentencing proceeding.” Id at 826. Further, the Fourth Circuit has held that

§ 3582(c)(2) does not allow “a do-over of an original sentencing proceeding, where a

defendant is cloaked in rights mandated by statutory law and the Constitution.” United States

v. Legree, 205 F.3d 724, 730 (4th Cir. 2000) (quoting United States v. Tidwell, 178 F.3d

946, 949 (7th Cir. 1999)).

          The Court conducts a “two-step inquiry” to determine whether to reduce a

defendant’s sentence under § 3582(c)(2). Dillon, 560 U.S. 817 at 826; United States v.

Williams, 808 F.3d 253, 257 (4th Cir. 2015). The Court must first determine if the

defendant is eligible. Peters, 843 F.3d 572 at 574. A reduction under§ 3582(c)(2) is

permissible “only if (1) the defendant’s ‘term of imprisonment [was] based on a sentencing

range that has subsequently been lowered by the Sentencing Commission;’ and (2) the

reduction ‘is consistent with applicable policy statements issued by the Sentencing

Commission.’” Id. (quoting 18 U.S.C. § 3582(c)(2)). At step two, the Court considers

applicable 18 U.S.C. § 3553(a) factors and may grant the authorized sentenced reduction.

Id. (quoting 18 U.S.C. § 3582(c)(2)); see also 18 U.S.C. § 3553(a). “Whether to reduce a

sentence and to what extent is a matter within the district court’s discretion.” United States

v. Smalls, 720 F.3d 193, 195 (4th Cir. 2013) (quoting Legree, 205 F.3d 724, 727 (4th Cir.

2000)).

          Additionally, any sentence reduction in the defendant’s term of imprisonment must be

consistent with the policy statement in the U.S. Sentencing Commission Guidelines Manual.

Peters, 843 F.3d 572 at 574; U.S.S.G. § 181.10(a)(l). Courts “shall substitute ... the

amendments . . . for the corresponding guideline provisions that were applied when the

defendant was sentenced, and shall leave all other guideline application decisions unaffected.”




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Id § 1BI.
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which amended Guidelines apply retroactively. Id. § 1Bl.10(a)(2)(A), (d).

      In its revisions to Section 1B1.10, the Commission, consistent with the statutory

directive that a reduction should occur only where the defendant’s sentencing range was

lowered, made clear that a sentencing court is not authorized to reduce a defendant’s sentence

when a retroactive amendment does not result in lowering the applicable sentencing range for

the defendant. Specifically, subsection (a)(2)(B) states: “A reduction in the defendant’s term

of imprisonment is not consistent with this policy statement and therefore is not authorized

under 18 U.S.C. § 3582(c)(2) if . . . an amendment listed in subsection (c) does not have the

effect of lowering the defendant’s applicable guideline range.” U.S.S.G. § 1B1.10 (a)(2)(B)

(emphasis added). In this case, the applicable guideline range for Burks is not changed by

application of the relevant amendments, so a reduction in his term of imprisonment is not

authorized.

       Where, as is the case here, application of the pertinent amendment does not result

in a different sentencing range, no reduction of sentence may occur. United States v.

Gonzalez-Balderas, 105 F.3d 981, 984 (5th Cir. 1997) (affirming denial of a motion for a

sentence reduction because, while a retroactive amendment reduced the defendant’s offense

level, the new level still required the same sentence of life imprisonment that was imposed

originally). See also United States v. Wanton, 525 F.3d 621, 622 (8th Cir. 2008) (per curiam).

       In United States v. Phillips, 2006 WL 4748127 (E.D. Va. September 11, 2006), aff’d,

223 Fed. Appx. 249 (4th Cir. 2007), Judge Morgan rejected a claim virtually identical to that

posed by Burks today. In Phillips, the defendant claimed that he was entitled to a lower

sentence by Amendment 505 of the Sentencing Guidelines. While that amendment, effective

November 1, 1994, was retroactive, it had no effect on the defendant’s sentence because his

post-amendment guideline range remained life. Judge Morgan wrote:


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            Pursuant to amendment
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                                                                   Page 7 Guidelines
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            and considering the factors set forth in 18 U.S.C. § 3553, the Court
            exercises its discretion to lower Defendant's base offense level based on
            drug quantities from 42 to 38. This changes Defendant’s final offense
            level from 47 to 43. See U.S.S.G. App. C amend. 505. This does not,
            however, entitle him to a reduction of sentence, because the sentence is
            the same as that which he is currently serving: life. Guidelines Manual
            Ch. 5, Part A. Thus, while the base offense level is reduced to 43,
            Defendant's sentence is unaffected by Amendment 505 .


Id. *2. Like Phillips, Burks’s base offense level is 38, but - - again, like Phillips - - this does not

entitle him to a sentence reduction because the revised guideline sentence is the same as that

which he is currently serving: life.




B. Analysis

        Effective as of November 1, 2014, Amendment 782 to the Sentencing Guidelines reduced

the base offense levels in the Advisory Guidelines by 2 levels for certain drug offenses. U.S.S.G.,

SUPPLEMENT TO APPENDIX C (2016). Before Amendment 782 was instituted, the Drug

Quantity Table assigned a base offense level of 38 to defendants in cases involving 8.4 kilograms

or more of crack cocaine. Id § 2D1.1. After Amendment 782 was implemented, cases involving

25.2 kilograms, or more kilograms of crack cocaine yielded the same base offense level of 38.

Id § 2D1.1.(c)(1). Thus, for a base offense level of 38 to apply under Amendment 782, the

amount of crack cocaine involved must be 25.2 kilograms or more. Id. § 2D1.1.(1). The

Sentencing Commission implemented Amendment 782 to apply retroactively, thus giving Burks

a colorable claim to have his sentenced reduced. Id §§ lBl.10(d), (e)(l).

      The Court should deny Burks’ Motion for Reduction of Sentence because Burks is

ineligible for a reduction under § 3582(c)(2). Bruks admits that he is “serving a term of

imprisonment where [his] sentence was based on the drug quantity in 2D1.1” Def. Motion at




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    1.
    Case However, Burks argues that:
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    Petitioner’s 2255 and 3582, the court (sic) ruled that ‘no role in the offense’ is applicable to the

    CCE conviction. Removing such enhancement as the court (sic) did, brings Petitioner’s total

    offense level to 44.” Def. Motion at 1-2 (footnote omitted). 5 Burks then extrapolates that since

    Guideline amendments have reduced the highest offense level to 38, which he concedes he is at

    he concludes - - “[a] level 38, plus 2 points for possession of a weapon, leaves [me] at a level

    40, under Amendment 782. A level 40, at criminal history category II, places [me] at 324-405

    months . . . .” Def. Motion at 2, ¶ 4. At bottom, Burks wrongfully decides that he should not

    receive a 4 level increase in his sentence pursuant to his CCE conviction.

          However, Burks does correctly concede:

                 Petitioner was convicted of two counts. Count one, conspiracy to
                 distribute over 50 grams of crack cocaine in violation of 21 U.S.C.
                 § 846, and Count two, engaging in a continuing criminal enterprise
                 (“CCE”) in violation of 21 U.S.C. § 848. On direct appeal Count
                 one was vacated and Petitioner’s life sentence now solely relies on
                 Count two (CCE) of conviction.

Def. Motion fn 1, at 2 (emphasis added). In other words, as Burks admits, his sentence was

exclusively determined under Guidelines § 2D1.5, which reads:


                  § 2D1.5 Continuing Criminal Enterprise; Attempt or Conspiracy

                  (a) Base Offense Level (Apply the greater):

                  (1) 4 plus the offense level from §2D1.1 applicable to the underlying offense;
                  or
                  (2) 38.
                                                Commentary
                  Statutory Provision: 21 U.S.C. § 848.
                  Application Notes:
                  1. Do not apply any adjustment from Chapter Three, Part B (Role in the
                      Offense).

                  2.   If as part of the enterprise the defendant sanctioned the use of violence, or if
                       the number of persons managed by the defendant was extremely large, an
                       upward departure may be warranted.

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  Amendment 782 puts Burks at a level 38, since he was found to distribute 50 kilograms or more of crack cocaine
and the threshold amount for level 38 is 25.2 kilograms or more.
5
  The Court only ruled on Burks’ § 2255 petition.
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(Emphasis added to “apply the greater”). The Court correctly concluded that since Count One

(conspiracy count) was dismissed per the Fourth Circuit’s ruling, and only Count Two remained

(CCE count), role in the offense was no longer relevant pursuant to Guidelines § 3B1.1(a). In

doing so, the Court was simply applying Application Note 1 above, which directed the Court on

the CCE count to taken the current drug offense level and apply the four level CCE enhancement

(instead of the 4 level role enhancement), and add the two level gun enhancement, for an

appropriate Adjustment Offense Level. In short, the Sentencing Commission did not want to

unfairly duplicate a 4 level enhancement for “role in the offense,” since the CCE guideline

already adjusted for that by requiring a 4 level enhancement if appropriate, as it was in this case.

       As a result of recent Guideline amendments, including Amendment 782, as Burks

concedes, his current Guideline drug offense level is 38. Thus, with a present drug offense level

of 38 + plus 4 (under CCE § 2D1.5(a)(1)), + plus 2 (under gun enhancement § 2D1.1(b)(1)),

Burks’ Adjusted Offense Level, post Amendment 782, is 44. Under the current sentencing table,

at a Criminal History Category II, Burks sentence remains at life imprisonment. A sentence

reduction under § 3582(c)(2) “is not authorized unless one of the amendments to the Sentencing

Guidelines has the effect of lowering the defendant’s applicable guideline range.” Id

§ 1Bl.10(a)(2)(B); see also Williams, 808 F.3d 253, 257.

       Accordingly, the Court should deny the Defendant’s Motion for Reduction in

Sentence because Defendant’s base offense level remains the same after the U.S.S.G.’s

reduction in guideline levels pursuant to Amendment 782.




                                                       Respectfully Submitted,

                                                       Dana J. Boente
                                                       United States Attorney

                                              By:     ________/s/_________

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                                       Lawrence
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                                          08/03/17    Page 10 of 11 PageID# 244
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                                      CERTIFICATE OF SERVICE

       I hereby certify that on August 3, 2017, a true copy of the foregoing pleading was

electronically filed with the Clerk of the Courts through the CM/ECF system, which will then

send a notification of such filing (NEF) to the following:

                              Caroline S. Platt, Esquire
                              Counsel for the Defendant
                              Assistant Federal Public Defender
                              Eastern District of Virginia
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                              Alexandria, VA 22314


       Pursuant to the Electronic Case Filing Policies and Procedures, a courtesy copy of the

foregoing pleading will be delivered to Chambers within one business day of the electronic filing.



                                              By:    _______/s/_________
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